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                              UNITED STATES DISTRICT C OURT
                              SOUTHYRN DISTRICT OFFLOM A
                            CASE NO.18-20710-CR-ALTONAGA(s)(s)
      UM TED STA TES OF AG RICA

      VS.

      AXTHO:V Mxczv,
              Defendant.
                                             /

                                       FA CTUAL PROFFER

              TheofficeoftheUnited StatesAtlorney forthe Southrm DistrictofFlorida atld the

      DefendantAnthonyM auzy (tsDefendanf')stipulateand agreethatthefollowing factsare
                                                          '
      tnzeand correctand thatsuch factsprovidea sufficl
                                                      ,entfacttlalbasisforaplea ofguilty to
                                                      :

      Count1 oftheSecond Superseding Indictm ent,which chargesDefendantwith conspiracy

      to com m ithealth carefraud,in violation ofTitle 18,United StatesCode,Section 1349.

              Beginning in oraround Jarmary of2015,and continuing through in orarotm d July

      of 2015, Defendant conspired and areed with John Scholtes (Cçscholtes''), Senthil
      '
  ,                                     .



      RamamurthyttGRarllamttl-thy''l,ThomasSalls(tGSal1s'')5RajeshMahbubaniCcM ahbubani''l,
      M angalaRamamurthy (ççDr.Ramamurthy''l,AsifUddin (:(Uddin''),JeniferJohn Carbon
      (1GCarbon'')and others to com mithealth care fraudthrough the submission offalse and
      fraudulentclaim sto the Tricareprogram .Tricareis a federalhealth care beqefk program

      affectingcommerce,asdefnedinTitle18,UnitedStatesCode,Section24(b),thatprovides
      civilian health benefits form ilitary personnel,m ilitary retirees,an.d m ilitary dependents.
          .
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    D efendant's schem e involved causing the subnlission of false and fraudulent claim s

    (including those claimssetforth,
                                   in counts2-9)toTricarebased on prescriptionsforpain
    creams,scarcreamsmldm ulti-vitaminswritlen with thegoalofmaximizing adjudication
    am ounts w ithout regard to p edical necessity which w erehbilled through Phnrmacy 1,

   Phnrmacy 2 and other pharp acies.Phnnnacy       was a compounding pharm acy in the

   M iddle D iskict of Florida.Phnrm acy 2 was a com ponnding pharm acy located in the

   Northern District of Oklahom a.Defendant was an owner of M E'
                                                               IQ Ventures,
   ((çM HQV'
           .')7a Texas company with a principal place of business in Austin,Texas.
   Ramamtu4hywasanownerofSKR ServicesandVenturesLLC,(SKR)aFloridacompany
   with itsprincipalplace ofbusinessin M iam i,Florida.

          During the courseofthe charged conspiracy theDefendantand llisco-conspirators

   targeted Tricarebeneficiarieson U .S.m ilitary basesatld elsewhereforpurposesofsigning

   them up toreceiveprescriptionsforexpensive compotmded m edicationsprom oted without

   regard form edicalnecessity andpaid forby theTricareprogm m . In fact,the onlypurpose

   in targetingTricarebeneficiarieswasthelucrative50% (lessamodestcostofgoodssold)
   ldckback paid to SK R by Pharm acies 1 and 2 foreach prescfiption Defendantand his co-

   cpnspiratorsreferred to thepharm aciesthatw aspaid forby Tdcare.

          Dtlring the conspiracy,Defendantand his co-conspiratorsreceived approxim ately

   $3.4 m illion in kickbacksin exchange forreferring Tricarepredcriptionsto Phnrm acies 1
   and2.Theseldckbacksw erefunneled from $hephnrmaciesthrough SKR andthen aportion

   ofthis amotmt (at leastthe approximate sum of$750,000) to the Defendant and co-
   conspiratorsSahs and M ahbubanieitherindividually orthrough theircompany M HQV
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    (includingthosekiekback paymentssetforth in counts12,14,17,19,21-22,and24).The
    Defendantintt
                .
                u'rlpaid(tsalesreps''totargetTricarebeneficiaries.Yhesalesrepsinduced
    Tricarebeneficiariesto Rsign up''forthe expensive clrugswithoutregardto any legitim ate

    m edical need and often tim es based on false representations and m aterial om issions

    including,by way ofexam ple,claim sthatthe dnzgsw eye custom designed forthepatient.

    In fact,theprescription form ulationswerenotcustom ized forindividualsbased on specific
                                   )                            .
    m edicalneedsbutdeveloped to generate increased revenue from Tricare. Based on the

    claim ssubm itted in thiscase,Tricarereim blzrsed Phnrmacies 1and2 thousands ofdollars

    a m onth fora single compounded m edication product. For example,assetfol'th in cotmt

    4,Tricarereimbursedtheapproximateamotmtof$23,790foraone-montltsupplyofscar
    Creafn.

          AAer obtaining the beneficiades'infonnation,D efendantand llis co-conspirators

   routed the beneficiary inform ation and a pre-plinted prescdption to a telem edich e
                                                                .




    com pany for ratification.Defendantand hisco-conspirators paid betw een approxim ately

    $75 and $90 perconsultation,forprescdptionsratified by thetelemedicine companies.
    Often thnes,asin the case ofDr.Ram am urthy whoratified prescriptions,orCarbon,who

    forgedthenam e ofa doctorunderheremploy,thedoctornevereven exnm inedthepatient.

    D efendantand hisco-conspiratorspaidthe salesrepsakickback ofapproxim ately $350to
    $500foreverypresc/ptionthatthey induced andthatwasadjudicatedbyTricare.
          In fartherance oftheconspiacy,in oraboutFebruary 2015,Defendantalong with

    co-conspiptorsSahsand M ahbubaniform ed M HQV,in partto copcealtheirreceiptof
    ldckbacks. On oraboutFebnzary 17,2015,theDefendantsignedan M EIQV Shareholder
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    Agreem entthepurposeofwhich wasto equitably splitkickbacksreceived irlexchangefor

    referralsto Phannacies 1 and2. On oraboutM arch 16,2015 theDefendantcorresponded

    with co-conspirator M ahbubnni about a spreadsheet containing çcpfoposed payouts''to

    itsalesreps.''On or aboutM arch 24,2015 the D efendante-m ailed co-conspirators about

   usingM I'IQ nursestolçdocumentmedicalnecessity asweseefit.''
          During the course of this conspiracy the Defendant atld other charged co-

   conspiratorsused fàlsepretensesto gain'accessto U.S.m ilitary baseswherethey targeted

   Tricare beneficiaries. On multiple occasionsthroughouttheconspiracy theD efendantand

   other charged co-conspirators,including Scholtes,sentpre-printed ptescription pads to

   telem edicine corppanies directing those companieswhich scriptto use and where to send

   patients. The D efendant and the other charged co-conspirators, including Scholtes,

   directed the transfer ofpatients between variouspharmacies for the prim ary purpose of

   concealing the lm lawf'ulnature ofthe schem e. One such example occurred on or about

   April7,2015,when theDefendantand co-conspiratorscorresponbed by e-mailabout
   m oving patients from Pharmacies 1 and 2 to atlother compounding pharmacy located in

   theCentralDiskictofCalifonzià.

          The foregoing facts do not describe a11 the details of the offense conduct, or

   D efendant'scompleteknow ledgeofthe schem e,butare offered forthelim itedpurpose of

   establishing a sufficientfactualbasisto supportDefendant'spleaofguilty to the charges
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        ofconspiracyto defraudtheUnited Statesandto receivehealth carekickbacks.

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                                              IQEVW J.       N
                                              ASSIST TUNITED STATMSATTORNEY

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                                              RvAx sTuxœ HAuzBR sso.
                                              ATTORNBYFORDEFEVDANT

       Date: / /)//f
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                                            ANTHON Y          ZY
                                            DEFENDAN
